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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PHILIPS RECALLED CPAP,                           Master Docket: No. 21-mc-1230-JFC
BI-LEVEL PAP, AND MECHANICAL
VENTILATOR PRODUCTS LIABILITY                           MDL No. 3014
LITIGATION

This Document Relates to:

All Personal Injury and Medical Monitoring
Cases


             [PROPOSED] SCHEDULING ORDER SETTING AND/OR REVISING
                          CERTAIN DEADLINES FOR THE
               PERSONAL INJURY AND MEDICAL MONITORING TRACKS

           Upon consideration of the parties’ joint motion, the following deadlines shall apply:1

    I.     Individual Personal Injury Claims


    Date                 Individual Personal Injury Claims
    1/16/2024            Settlement Mediator Welsh report to Court on status of mediations of
                         personal injury claims.
    4/30/2024            Conclusion of general causation fact discovery.
    5/30/2024            Plaintiffs’ Rule 26(a)(2) expert disclosures on general causation.
    7/30/2024            Defendants’ Rule 26(a)(2) expert disclosures on general causation.
                         Conclusion of generally-applicable fact discovery, including Defendant
                         and non-party depositions (this deadline does not include case-specific
                         fact discovery).2


1
        This Order amends and supersedes the deadlines for the Medical Monitoring track in ECF
No. 1911. All dates herein assume timely completion of production. Further, the parties reserve
their full rights to seek a different schedule if there are any further amendments permitted by the
Court to one or more of the operative complaints.
2
        The parties recognize that, given the nature of the personal injury claims in the MDL, the
factual record and issues may evolve after the close of generally applicable fact discovery. To the
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    Date               Individual Personal Injury Claims
    8/30/2024          Parties to submit stipulated or competing proposals for selection of
                       individual bellwether personal injury cases and schedules for completion
                       of fact and expert discovery and motion practice on specific cases.
                       Plaintiffs’ Rule 26(a)(2) rebuttal expert disclosures on general causation.
    10/30/2024         Deadline to complete expert depositions on general causation.
    12/2/2024          Deadline to file Rule 702/Daubert motions on general causation experts,
                       and for summary judgment motions on general causation.
    1/17/2025          Deadline for Parties to file oppositions to Rule 702/Daubert motions and
                       to summary judgment motions on general causation. 3
    2/18/2025          Deadline for reply briefs on summary judgment motions on general
                       causation.
    3/2025 or 4/2025   Potential hearing date on Rule 702/Daubert issues and summary
                       judgment motions on general causation.

    II.    Medical Monitoring Putative Class Action

           Date                        Medical Monitoring Putative Class Action
    1/16/2024          Settlement Mediator Welsh to report to Court on status of mediations of
                       medical monitoring claims.
    4/30/2024          Conclusion of all fact discovery related to class certification, including
                       Party and non-party fact depositions.
    5/30/2024          Plaintiffs’ Rule 26(a)(2) expert disclosures relevant to class certification.
    7/30/2024          Defendants’ Rule 26(a)(2) expert disclosures relevant to class
                       certification.
    8/30/2024          Plaintiffs’ Rule 26(a)(2) rebuttal disclosures relevant to class certification.
    10/30/2024         Deadline to complete expert depositions relevant to class certification.
    12/2/2024          Plaintiffs file motion for class certification.
    1/17/2025          Defendants file class certification opposition.
    2/18/2025          Plaintiffs file reply in support of class certification.


extent that plaintiffs or defendants request supplemental discovery in connection with the
prosecution of personal injury claims thereafter, the parties shall confer on such request and the
appropriate scope thereof. In the event the parties are unable to reach agreement, the matter shall
be presented to the Court for resolution.
3
       Depending on the number of Rule 702/Daubert motions that are filed, the parties may seek
an extension of time to file oppositions and reply briefs.
                                                   2
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      Date                        Medical Monitoring Putative Class Action
3/25/2025          Parties file Rule 702/Daubert motions on class certification issues.
4/25/2025          Parties file Rule 702/Daubert oppositions on class certification issues.
5/2025 or 6/2025   Potential hearing date for Rule 702/Daubert motions on class
                   certification experts (subject to Court’s scheduling)


DONE and ORDERED this ____ day of _________, 2023.



                                          _____________________________________
                                          HONORABLE JOY FLOWERS CONTI
                                          Senior United States District Judge




                                              3
